      Case 3:16-cv-00885-AVC Document 83 Filed 03/22/17 Page 1 of 17




                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF CONNECTICUT


JACK MONTAGUE                                         :
                                                      :
         Plaintiff                                    :               CIVIL ACTION NO.:
                                                      :               3:16-CV-00885-AVC
vs.                                                   :
                                                      :
YALE UNIVERSITY, ET AL                                :
                                                      :
         Defendants                                   :               MARCH 22, 2017

                      DEFENDANT JASON KILLHEFFER’S ANSWER

         The defendant, Jason Killheffer, hereby answers the plaintiff’s January 25, 2017

Amended Complaint.

         1.      The defendant admits that the plaintiff was in his senior of college and the

captain of Yale University’s (“Yale”) basketball team in the fall of 2015 and that the

basketball team ultimately qualified for the NCAA Tournament which had not been

accomplished since 1962. The defendant denies knowledge or information sufficient to form a

belief as to the truth of the remaining allegations contained in Paragraph 1.

         2.      The defendant denies the allegations contained in Paragraph 2.

         3.      The defendant denies that the female student was affirmatively misled by the

defendants into participating in a formal complaint process initiated by Yale. The defendant

has no personal knowledge of the sexual encounters between the plaintiff and the female

student, but admits that the female student claimed that part of her interaction with the plaintiff
   Case 3:16-cv-00885-AVC Document 83 Filed 03/22/17 Page 2 of 17




was nonconsensual. The defendant denies knowledge or information sufficient to form a

belief as to the truth of the remaining allegations contained in Paragraph 3.

       4.      The defendant admits that the complaint against the plaintiff was addressed

pursuant to the policies and procedures of the University-Wide Committee on Sexual

Misconduct (“UWC”). The defendant denies that Yale engaged in a battle to establish itself as

an institution that takes accusations of sexual misconduct seriously. The defendant further

denies that the plaintiff served as a poster boy for tough enforcement of the Sexual Misconduct

Policies. The defendant denies knowledge or information sufficient to form a belief as to the

truth of the remaining allegations contained in Paragraph 4.

       5.      The defendant admits that the plaintiff was expelled from Yale and removed

from Yale’s basketball team. The defendant further admits that there were articles in the press

reporting that the plaintiff was expelled from Yale due to sexual misconduct. The defendant

denies knowledge or information sufficient to form a belief as to the truth of the remaining

allegations contained in Paragraph 5.

       6.      The defendant denies the allegations contained in Paragraph 6.

       7.      The allegations in Paragraph 7 describe the claims raised in the complaint and

no response is required.

       8.      The defendant admits that Yale, Angela Gleason, and the defendant are

residents of Connecticut. The defendant denies knowledge or information sufficient to form a

belief as to the truth of the remaining allegations contained in Paragraph 8.




                                                2
   Case 3:16-cv-00885-AVC Document 83 Filed 03/22/17 Page 3 of 17




        9-10. The defendant admits that the United States District Court for the District of

Connecticut has jurisdiction over the plaintiff’s claims and is the proper venue.

        11.     The defendant admits that the plaintiff was formerly a full-time student at Yale.

The defendant denies that the plaintiff was wrongfully and improperly expelled in February,

2016, while in his senior year at the University.           The defendant denies knowledge or

information sufficient to form a belief as to the truth of the remaining allegations contained in

Paragraph 11.

        12.     The defendant admits the allegations contained in Paragraph 12, except to deny

that Yale University is a private liberal arts college.

        13-14. The defendant admits the allegations contained in Paragraphs 13 and 14.

        15.     The defendant admits that some Yale students and some alumni raised

concerns about how Yale responded to complaints of sexual misconduct. The defendant

denies that it had to show that it was willing to take a hard line against male students accused

of sexual assault in order to dispel the notion that Yale’s campus was an unfriendly and unsafe

environment for women. The defendant denies knowledge or information sufficient to form a

belief as to the truth of the remaining allegations contained in Paragraph 15.

        16.     The defendant admits that the Office of Civil Rights (“OCR”) of the U.S.

Department of Education (“DOE”) issued an April 4, 2011 letter, widely known as the “Dear

Colleague” letter, and refers to the letter for the contents thereof.

        17-20. The defendant denies knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraphs 17, 18, 19, and 20.




                                                  3
   Case 3:16-cv-00885-AVC Document 83 Filed 03/22/17 Page 4 of 17




       21.       The defendant admits the allegations contained in Paragraph 21, except to deny

that Yale created the UWC in response to the OCR’s investigation. The defendant refers to the

Yale Sexual Misconduct Policies and Related Definitions for the contents thereof.

       22.       The defendant admits that Yale adopted UWC Procedures and refers to those

procedures for the contents thereof.

       23.       The defendant admits that Yale has a Sexual Harassment and Assault Response

and Education (“SHARE”) Center which is available to members of the Yale community. The

defendant denies that Yale established the SHARE Center in response to the OCR’s

investigation.

       24.       The defendant denies the allegations contained in Paragraph 24, except to admit

that Yale publishes a semi-annual report to the Yale community about actions taken by the

University in response to specific complaints of sexual misconduct and that the first of those

reports included complaints of sexual misconduct brought forward between July 1, 2011 and

December 31, 2011.

       25.       The defendant admits that OCR concluded its investigation of the 2011

complaint on June 15, 2012. The defendant refers to the June 15, 2012 letter to Dorothy

Robinson and the Voluntary Resolution Agreement for the contents thereof.

       26.       With regard to the allegations contained in Paragraph 26, the defendant refers to

the Voluntary Resolution Agreement for the terms thereof.

       27.       The defendant denies knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraph 27.




                                                 4
   Case 3:16-cv-00885-AVC Document 83 Filed 03/22/17 Page 5 of 17




       28.     The defendant admits that Yale alumni wrote an open letter to Preside Salovey

and Provost Spangler in August, 2013 and refers to the letter for the contents thereof.

       29.     The defendant denies knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraph 29.

       30.     The defendant admits that Yale issued Sexual Misconduct Scenarios to address

questions and concerns generated by the January 1, 2013 to June 30, 2013 semi-annual report.

The defendant refers to the Sexual Misconduct Scenarios for the contents thereof.

       31.     With regard to the allegations contained in Paragraph 31, the defendant refers to

the Sexual Misconduct Scenarios for the contents thereof.

       32.     The defendant admits that the Association of American Universities (“AAU”)

issued the Report on the AAU Campus Climate Survey on Sexual Assault and Sexual

Misconduct (“Report”) in September, 2015.           The defendant refers to the Report for the

contents thereof. The defendant further admits that President Salovey issued a statement

regarding the results of the Report and refers to that statement for the contents thereof.

       33.     The defendant denies knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraph 33.

       34.     The defendant denies knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraph 34 and refers to the AAU survey for its

contents.




                                                5
   Case 3:16-cv-00885-AVC Document 83 Filed 03/22/17 Page 6 of 17




        35.    The defendant denies the allegations as stated, but admits that some of the

students at Yale voiced concerns about how Yale responded to complaints of sexual

misconduct.

        36.    The defendant denies the allegations contained in Paragraph 36.

        37.    The defendant denies the allegations contained in Paragraph 37, except to

admit that he filed the formal complaint on November 18, 2015.

        38.    The defendant admits that Jane Roe claimed that the intercourse with the

plaintiff was nonconsensual. The defendant denies knowledge or information sufficient to

form a belief as to the truth of the remaining allegations contained in Paragraph 38.

        39.    The defendant admits that Ms. Roe was not the first person to bring this matter

to the attention of Yale’s Deputy Title IX Coordinator, but denies the implication that the

formal complaint was filed without the participation of Ms. Roe.

        40-50. The defendant denies knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraphs 40, 41, 42, 43, 44, 45, 46, 47, 48, 49, and

50.

        51.    The allegations of Paragraph 51 are denied, except that the defendant admits

that Ms. Roe spoke with Amy Myers, LCSW, concerning Ms. Roe’s interactions with the

plaintiff.

        52.    The defendant admits the allegations of Paragraph 52.

        53.    The allegations contained in Paragraph 53 are denied, except that the defendant

admits that the defendants concluded that given the serious nature of the allegations made by




                                                6
   Case 3:16-cv-00885-AVC Document 83 Filed 03/22/17 Page 7 of 17




Ms. Roe as well as the fact that the plaintiff had already received sensitivity training and had

been found to have violated the University’s Sexual Misconduct Policy, a formal complaint

filed by the Title IX Coordinator would be more appropriate than an informal complaint, so

long as Ms. Roe was willing to participate as a witness.

         54.    The allegations contained in Paragraph 54 are denied.

         55-56. The defendant denies the allegations contained in Paragraphs 55 and 56, and

refers to the UWC Procedures for the contents thereof.

         57-61. The defendant denies knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraphs 57, 58, 59, 60, and 61.

         62.    The defendant refers to the UWC Procedures and Yale Sexual Misconduct

Policies and Related Definitions for the contents thereof.

         63.    The defendant denies knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraph 63.

         64.    The defendant denies the allegations contained in Paragraph 64, except to admit

that a female student accused the plaintiff of rolling up a paper plate and shoving it down her

shirt.

         65.    The defendant refers to the UWC Procedures and the Statement on

Confidentiality of UWC Proceedings for the contents thereof.

         66.    The defendant denies knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraph 66.




                                                7
   Case 3:16-cv-00885-AVC Document 83 Filed 03/22/17 Page 8 of 17




       67-69. The defendant denies knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraph 67, 68, and 69.

       70-75. The defendant denies knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraphs 70, 71, 72, 73, 74, and 75.

       76.     The defendant admits that Ms. Smith filed a complaint with the UWC in

August, 2013, after she had graduated from Yale, and refers to that complaint for the contents

thereof.

       77.     The defendant refers to Yale Sexual Misconduct Policies and Related

Definitions for the contents thereof.

       78-81. The defendant denies knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraphs 78, 79, 80, and 81.

       82.     The defendant denies the allegations contained in Paragraph 82.

       83-90. The defendant denies knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraphs 83, 84, 85, 86, 87, 88, 89, and 90.

       91.     The defendant admits the allegations contained in Paragraph 91.

       92-104. The defendant denies knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraphs 92, 93, 94, 95, 96, 97, 98, 99, 100, 101,

102, 103, and 104.

       105.    The defendant refers to the UWC Procedures for the contents thereof.

       106.    The defendant denies knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraph 106, except to deny the implication that the




                                                8
   Case 3:16-cv-00885-AVC Document 83 Filed 03/22/17 Page 9 of 17




purpose of the November 6, 2015 meeting was to steer the proceedings away from the

informal complaint process Roe requested and towards a formal complaint process initiated by

a Title IX Coordinator against Montague or that Post met with Roe on November 6, 2015 in

order to discuss the specifics of a formal complaint against Montague.

       107-108.        The defendant denies the allegations contained in Paragraphs 107 and

108.

       109.    The defendant denies knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraph 109, except to refer to the UWC Procedures

for the contents thereof.

       110.    The defendant denies the allegations contained in Paragraph 110.

       111-129.        The defendant denies knowledge or information sufficient to form a

belief as to the truth of the allegations contained in Paragraphs 111 through 129.

       130.    The defendant denies the allegations contained in Paragraph 130.

       131-134.        The defendant denies knowledge or information sufficient to form a

belief as to the truth of the allegations contained in Paragraphs 131, 132, 133, and 134.

       135.    The defendant admits the allegations contained in Paragraph 135.

       136-137.        The defendant refers to the February 1, 2016 UWC Panel Report for the

contents thereof.

       138.    The defendant denies knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraph 138, except to refer to the February 1, 2016

UWC Panel Report for the contents thereof.




                                                9
  Case 3:16-cv-00885-AVC Document 83 Filed 03/22/17 Page 10 of 17




       139.    The defendant denies the allegations contained in Paragraphs 139.

       140-141.        The defendant denies knowledge or information sufficient to form a

belief as to the truth of the allegations contained in Paragraphs 140 and 141.

       142-143.        The defendant admits that if Ms. Roe had given consent to sexual

intercourse, then she would have had the right to revoke that consent. The defendant denies

the implication that Ms. Roe ever stated that she gave consent to sexual intercourse.

       144-145.        The defendant refers to the February 1, 2016 UWC Panel Report for the

contents thereof.

       146-147.        The defendant denies knowledge or information sufficient to form a

belief as to the truth of the allegations contained in Paragraphs 146 and 147.

       148.    The defendant refers to the February 1, 2016 UWC Panel Report for the

contents thereof.

       149-154.        The defendant denies knowledge or information sufficient to form a

belief as to the truth of the allegations contained in Paragraphs 149, 150, 151, 152, 153, and

154.

       155-156.        The defendant refers to the February 1, 2016 UWC Panel Report for the

contents thereof.

       157-158.        The defendant denies knowledge or information sufficient to form a

belief as to the truth of the allegations contained in Paragraphs 157 and 158.

       159.    The defendant denies the allegations contained in Paragraph 159.




                                               10
  Case 3:16-cv-00885-AVC Document 83 Filed 03/22/17 Page 11 of 17




       160.    The defendant refers to the February 1, 2016 UWC Panel Report for the

contents thereof.

       161-164.        The defendant denies knowledge or information sufficient to form a

belief as to the truth of the allegations contained in Paragraphs 161, 162, 163, and 164.

       165.    The defendant refers to the February 1, 2016 UWC Panel Report for the

contents thereof.

       166-168.        The defendant denies knowledge or information sufficient to form a

belief as to the truth of the allegations contained in Paragraphs 166, 167, and 168.

       169.    The defendant admits that the prior version of the UWC Procedures, dated May

8, 2015, provided that the panel’s report, which set out its findings of fact, its conclusion as to

whether or not those facts constitute a violation of University policy, and its recommended

penalty, if any, would be forwarded to both parties to the complaint. The defendant further

admits that the previous version of the UWC Procedures permitted each party to submit to the

secretary a single written response to the panel’s report within three days of receiving it.

       170.    The defendant denies the allegations contained in Paragraph 170.

       171-177.        The defendant denies knowledge or information sufficient to form a

belief as to the truth of the allegations contained in Paragraphs 171, 172, 173, 174, 175, 176,

and 177.

       178.    The defendant denies the allegations contained in Paragraph 178.

       179.    The defendant refers to the Reports of Complaints of Sexual Misconduct for the

period from January 1, 2012 through June 30, 2015 for the contents thereof.




                                                11
  Case 3:16-cv-00885-AVC Document 83 Filed 03/22/17 Page 12 of 17




         180.   The defendant denies the allegations contained in Paragraph 180.

         181-185.       The defendant denies knowledge or information sufficient to form a

belief as to the truth of the allegations contained in Paragraph 181, 182, 183, 184, and 185.

         186.   The defendant denies the allegations contained in Paragraph 186.

         187-188.      The defendant refers to the Sexual Misconduct Scenarios for the

contents thereof.

         189-192.      The defendant denies knowledge or information sufficient to form a

belief as to the truth of the allegations contained in Paragraphs 189, 190, 191, and 192.

         193.   The defendant denies the allegations contained in Paragraph 193.

         194-196.      The defendant denies knowledge or information sufficient to form a

belief as to the truth of the allegations contained in Paragraph 194, 195, and 196.

         197.   The defendant denies the allegations contained in Paragraph 197, except to

admit that the plaintiff was expelled and therefore could not play on the basketball team.

         198-203.      The defendant denies knowledge or information sufficient to form a

belief as to the truth of the allegations contained in Paragraphs 198, 199, 200, 201, 202, and

203.

                                            COUNT I
                         Breach of Contract, UWC I (Lack of Jurisdiction)
                                       (v. Yale University)

         The defendant does not respond to Count I because this defendant is not named in said

count.




                                               12
  Case 3:16-cv-00885-AVC Document 83 Filed 03/22/17 Page 13 of 17




                                            COUNT II
                   Breach of Contract, UWC I (Inadequate Evidence to Support
                                 Finding of Sexual Harassment)
                                       (v. Yale University)

         The defendant does not respond to Count II because this defendant is not named in said

count.

                                         COUNT III
                                 20 U.S.C. § 1681 (Title IX), UWC I
                                        (v. Yale University)

         The defendant does not respond to Count III because this defendant is not named in

said count.

                                             COUNT IV
                                             Defamation
                               (v. Yale University and Angela Gleason)

         The defendant does not respond to Count IV because this defendant is not named in

said count.

                                             COUNT V
                 Invasion of Privacy (Violation of Confidentiality and False Light)
                              (v. Yale University and Angela Gleason)

         The defendant does not respond to Count V because this defendant is not named in said

count.

                                             COUNT VI
                                 Tortious Interference with Contract
                                     (v. Gleason and Killheffer)

         243.   The responses to each of the foregoing paragraphs are hereby incorporated as if

fully restated herein.




                                               13
  Case 3:16-cv-00885-AVC Document 83 Filed 03/22/17 Page 14 of 17




        244-245.         The defendant denies the allegations contained in Paragraphs 244 and

245.

        246.     The defendant admits that the plaintiff was expelled from the University. The

defendant denies the remaining allegations contained in Paragraph 246.

        247-248.         The defendant denies the allegations contained in Paragraphs 247 and

248.

                                             COUNT VII
                                      Breach of Contract, UWC II

        249.     The responses to each of the foregoing paragraphs are hereby incorporated as if

fully restated herein.

        250.     The allegations contained in Paragraph 250 are denied.

                              COUNT VII(A): Breach of Confidentiality
                                      (v. Yale University)

        The defendant does not respond to Count VII(A) because this defendant is not named

in said count.

                 COUNT VII(B): Intentional Manipulation of Procedure for
                      Title IX Coordinator-Initiated Complaints
                                  (v. All Defendants)

        254.     The defendant denies the allegations contained in Paragraph 254, denies that

Paragraph 254 accurately quotes Exhibit 4 and denies the implication that the UWC II

complaint was brought independently of the wishes of the complainant.

        255-258.         The defendant denies the allegations contained in Paragraphs 255, 256,

257 and 258.




                                               14
  Case 3:16-cv-00885-AVC Document 83 Filed 03/22/17 Page 15 of 17




     COUNT VII(C): Failure to Comply with UWC Procedures Concerning Status of
                                    Complainant
                                (v. Yale University)

       The defendant does not respond to Count VII(C) because this defendant is not named

in said count.

    COUNT VII(D): Failure to Comply with Hearing Panel Appointment Procedures
                                  (v. Yale University)

       The defendant does not respond to Count VII(D) because this defendant is not named

in said count.

                           COUNT VII(E): Failure to Make Findings
                                 Constituting a Violation
                                   (v. Yale University)

       The defendant does not respond to Count VII(E) because this defendant is not named

in said count.

                  COUNT VII(F): Erroneous Reliance on UWC I Proceedings
                                   (v. Yale University)

       The defendant does not respond to Count VII(F) because this defendant is not named in

said count.

                          COUNT VII(G): Consideration of Evidence
                           Outside the Presence of the Respondent
                                     (v. Yale University)

       The defendant does not respond to Count VII(G) because this defendant is not named

in said count.




                                            15
  Case 3:16-cv-00885-AVC Document 83 Filed 03/22/17 Page 16 of 17




              Count VII(H): Erroneous Reliance on Executive Committee Action
                                   (v. Yale University)

       The defendant does not respond to Count VII(H) because this defendant is not named

in said count.

                                        COUNT VIII
                 Breach of Contract/Common Law, UWC II: Denial of Basic Fairness/
                             Arbitrary and Capricious Decision Making
                                        (v. Yale University)

       The defendant does not respond to Count VIII because this defendant is not named in

said count.

                                              COUNT IX
                      20 U.S.C. § 1681 (Title IX), UWC II (Erroneous Outcome)
                                         (v. Yale University)

       The defendant does not respond to Count IX because this defendant is not named in

said count.




                                    SPECIAL DEFENSE

       Plaintiff’s claims related to UWC I are barred because of his failure to exhaust his

contractual remedies in that he did not pursue an appeal of the Dean’s decision.




                                              16
  Case 3:16-cv-00885-AVC Document 83 Filed 03/22/17 Page 17 of 17




                                                       THE DEFENDANT
                                                       JASON KILLHEFFER



                                                  BY:___           /s/
                                                     Patrick M. Noonan
                                                     Colleen Noonan Davis
                                                     Donahue, Durham & Noonan, P.C.
                                                     741 Boston Post Road
                                                     Guilford, CT 06437
                                                     (203) 458-9168




                                       CERTIFICATION

        I hereby certify that, on the above-written date, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this
filing will be sent by e-mail to all parties by operation of the court’s electronic filing system or
by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic
Filing. Parties may access this filing through the court’s CM/ECF System.



                                                       _______________/s/________________
                                                        Patrick M. Noonan




                                                17
